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  EXHIBIT A
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SIMONE K. LELCHUK

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June 12, 2023

Judge Jed S. Rakoff
District Judge
United States District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

                Re:     Doe v. Deutsche Bank Aktiengesellschaft, 22-cv-10018 (JSR)

Dear Judge Jed S. Rakoff:

Please accept this letter of introduction to serve as the Claims Administrator of the Qualified
Settlement Fund. I have included my resume and a proposed budget for your review.

I respectfully submit that my experience and “trauma-informed” approach to sexual misconduct
claims puts me in a unique position to administer this fund. Due to my extensive previous settlement
efforts involving Epstein-related matters, I have an appreciation for the dynamics involving the
Epstein survivors. In addition, I believe that my work successfully mediating the instant class action,
as well as my initial involvement in structuring and establishing the fund, will make any claims
administrative work more efficient and effective if I am selected as the Claims Administrator. A
significant portion of my mediation practice is focused on resolving cases involving allegations of
sexual assault and the design and administration of funds created specifically to compensate those
survivors. I am widely recognized for my compassion, organization, efficiency, and decisiveness. In
addition, I have received extensive feedback that my work is “trauma informed,” and I am firmly
focused on ensuring that survivors do not feel “re-victimized” by the negotiations and settlement
administration.

Survivors often fear coming forward to participate in a settlement fund, even if there are promises of
confidentiality. I believe my reputation with Class Counsel, with many of the women in this class, and
my general reputation will make much easier an already very difficult situation. I would also
respectfully suggest that Class Counsels’ recommendation is important here as they will be the liaison
between many class members and the Claims Administrator. My working relationship with Class
Counsel will lead to obvious efficiencies and will help with some less than obviously apparent issues
here given the large international contingency of the class and the various concerns we will need to
address (e.g., where and how to make distributions, resolution of medical liens for those receiving
medical care in the United States, language issues, etc.).

In addition to the settlement of this case, which your Honor will assess, I have significant additional
experience with the Epstein survivors. I successfully served as the mediator in approximately forty
cases with women who did not accept, or participate in, the Epstein Victims’ Compensation Fund. I
also mediated the civil claims of the survivors of Harvey Weinstein, and I administered and evaluated
claims related to two significant settlement funds established for the benefit of the survivors of Harvey
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Weinstein (I am prepared to discuss the non-public engagement in camera). I also personally handled
all of the survivor interviews for the USA Gymnastics settlement fund at the request of the claims
administrator. I take great professional and personal pride in the feedback I have received from
survivors that suggest that my approach to handling the fund administration made the survivors feel
heard and helped them move toward closure.

I understand that the administration of this fund and the distribution of funds to survivors as soon as
practicable is of the utmost importance to the Court and Class Counsel. Recognizing the urgency,
and at the suggestion of counsel, I began the process of working through settlement fund
administrative issues and I can represent to the Court that I am available to move this matter forward
expeditiously and that I will personally handle all aspects of this case to conclusion. Should your
Honor choose a different administrator, I commit to making myself available to assist in transitioning
the ongoing work.

Along with my resume, I have also submitted a proposed budget for your review. I am deeply
committed to this process and, more importantly, to the survivors impacted. If your Honor believes
I am the right choice for Claims Administrator, I will welcome the opportunity to discuss any aspect
of my proposal and will work with the Court to make any adjustments to the budget or the process
you deem required. Also, beyond the exceptional counsel in this case, if you would like to speak with
Roberta Kaplan of Kaplan Hecker & Fink LLP ((212) 763-0883; rkaplan@kaplanhecker.com) or Max
Berger of Bernstein Litowitz Berger & Grossmann LLP ((212 554-1403; max@blbglaw.com) about
their experiences working with me, both are available to speak with Your Honor.

I very much appreciate your taking the time to read this letter and review my resume and proposed
budget.

Respectfully submitted,



Simone K. Lelchuk




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 SIMONE K. LELCHUK, ESQ.
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Professional Experience
MELNICK ADR LLC
Mediator & Settlement Fund Administrator, 2014 – Present
    •     Extensive mediation experience involving complex civil disputes, and the design and allocation of settlement funds
    •    Significant experience in sexual assault related matters (both the mediation of, and administration of, the related
         settlement funds)
    •    Certified “Trauma Informed” by the National Center for Equity & Agency
    •    Mediations with educational institutions regarding compliance with Title IX
    •    Mediated hundreds of disputes that involve GL, E&O, D&O, and Representation & Warranty policies (often with
         respect to sexual assault / harassment / employment related matters)
    •    Representative Settlement Fund Administrative Work: Claims Examiner appointed in The Weinstein Company
         Bankruptcy Plan to administer the Sexual Misconduct Claims Fund (also designed the claims process); Special Master
         in the Farruggio et al. v. 918 James Receiver, LLC class action settlement (this case involved the elder, medical, and sexual
         abuse of patients residing at a network of rehabilitation and assisted living facilities) (also designed the claims process)
    •    Representative Mediation Work: Hundreds of confidential mediations including sexual assault survivors on one side,
         and individuals, estates, organizations (and their insurers), and/or other defendants on the other side; roughly 40
         private mediations brought by survivors of Jeffrey Epstein (survivors who did not accept their allocation from the
         Epstein Victims’ Compensation Fund, or survivors who came forward after the fund closed); class action settlement
         brought by the sexual abuse survivors of Jeffrey Epstein against Deutsche Bank; class action settlement of various
         Plaintiffs and the NYAG against Harvey Weinstein and other Defendants, and Weinstein’s related companies; class
         action settlement of elder abuse claims by residents and residents’ families and estates in Farruggio et al. v. 918 James
         Receiver, LLC; the mediation and resolution of multiple issues related to Church abuse cases

KASOWITZ TORRES BENSON LLP, New York, New York
Associate, Corporate Restructuring & Bankruptcy, Real Estate, 2010 - 2014
Background & Education
BENJAMIN N. CARDOZO SCHOOL OF LAW – Juris Doctor, 2010
Certificate in Dispute Resolution
Member of the Cardozo Mediation Clinic
President, Cardozo Dispute Resolution Society
Editor, Cardozo Journal of Conflict Resolution
OHIO UNIVERSITY – Bachelor of Arts, 2005
Finance Major
Division I Lacrosse Player and Captain
Academic All-American Division I (2001 – 2005)
Miscellaneous
    •   Selected as a Rising Star (within the mediation field) on the Super Lawyers lists for six years in a row (2016 – 2021)
    •   Certified “Trauma Informed” by the National Center for Equity & Agency
    •   Author: Go Work Your Magic, American Bar Association; Videoconference and Mediation in the New Normal, New York
        Law Journal; How to Mediate Like a Pro, American Bar Association
    •   Guest Lecturer at the Benjamin N. Cardozo School of Law, Mediation Clinic
